Case 3:08-cr-00243-|\/|HP Document3 Filed 05/27/2008 Pag`e _1uof…1

UNITED STATES DISTRICT COURT
Northern District of California d ' 4 ' ‘ …`1.
450 Go|den Gate Avenue ‘
San Francisco, California 94102 ‘F ,

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www.cand.uscourts.gov
Richard W, Wieking General_Court Number

Clerk 415.522.2000

May 16, 2008

U.S. District Court

U.S. Courthouse

401 Courthouse Sq.
Alexandria VA 22314

Case Number: CR08-243 MHP

 

Case Title: USiMichael Cheng
Dear Clerk:

Pursuant to the Order transferring the above-captioned case to your Court, transmitted
herewith are:

(X) Certif`led copy of the docket entries;
(x) Certifled copy of the lndictment/lnformation;
g 99 Certifled copy of the Transferral Order;
§§ Certified copy of the Consent to Transfer
M receipt of the above document on the copy of this letter.
Very truly yours,

RICHARD W. WIEKING, Clerk

by:_Lori Murray
Deputy Clerk

(enclosures)

cc: Copies to Counsel of Record
Courtroom Deputy

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